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AO 91 (Rev. LULL) Criminal Complaint (modified by USAO for telephone or other reliable electronic means) 7
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Southern District of Ohio ne HeTDIET LS

 

United States of America
V.

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CaseNo. F 9 /- DELS

De'zhanae Distar' Mrhea Rowan

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Defendant(s)
CRIMINAL COMPLAINT BY TELEPHONE OR OTHER RELIABLE ELECTRONIC MEANS

I, the complainant in this case, state that the following is true to the best of my knowledge and belief.

On or about the date(s) of October 6, 2021 in the county of Montgomery in the
Southern District of Ohio , the defendant(s) violated:
Code Section Offense Description
18 U.S.C. 111(1)(a) Forcibly assaults, resists, opposes, impedes, intimidates, or interferes with

any person designated in section 1114 of this title while engaged in or on
account of the performance of official duties; or forcibly assaults or
intimidates any person who formerly served as a person designated in
section 1114 on account of the performance of official duties during such
person's term of service.

This criminal complaint is based on these facts:

See Attached Affidavit

@ Continued on the attached sheet.

   

Complainant's signature

Daniel L. Tebo Jr., Deputy U.S. Marshal

Printed name and title

   

Attested to by the applicant in accordance with the requirements of Fed. R. Crim. P. 4

 

Date: (0 (g (2 (

  

Judge's signature

City and state: Dayton, Ohio Peter B. Silvain Jr., United States Magistrate Judge
—~Printed name and title
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AFFIDAVIT

1, Daniel L. Tebo Jr., being duly sworn, do hereby declare and state the following:

1.

iam employed as a Deputy U.S. Marshal (DUSM) and have been so employed since October
16, 2016. As a Deputy U.S. Marshal, | am authorized under 28 U.S.C. § 564 to enforce the
laws of the United States, including violations of 18 U.S.C. 111.

On October 5, 2021, the Dayton Municipal Court issued an arrest warrant for Jason Alen
HARBUT Jr., charging him with Felony Domestic Violence.

On October 6, 2021, the Southern Ohio Fugitive Apprehension Strike Team (SOFAST)
travelled to the warrant address of 123 Stubbs Or., Trotwood, OH in an attempt to locate
and arrest HARBUT. This address was also listed in various Law Enforcement Databases as
HARBUT’s last known address. HARBUT had a prior traffic offense citation issued to this
address and this address was listed in the original offense report by Dayton Police on the
Felony Domestic Violence charge. Upon arrival at 123 Stubbs Dr., SOFAST members
identified a vehicle in the driveway that was possibly vehicle related to HARBUT based on
information contained within police documents.

SOFAST members knocked and announced of their police presence. De'zhanae Distari
Mrhea ROWAN answered the door. Task Force Officer (TFO) Tom ONEY identified himself to
ROWAN as a law enforcement officer and explained they were there to execute an arrest
warrant for HARBUT. TFO ONEY requested that ROWAN step out onto the porch so they
could speak with her about HARBUT and asked if other occupants were in the home.

ROWAN denied other occupants being present and refused to step outside. TFO ONEY heard
movement come from behind ROWAN and stepped into the doorway to identify any other
individuals. ROWAN repeatedly stated she was the only one in the residence and pushed
TFO ONEY back from the doorway with her right hand while also utilizing her entire body to
move TFO ONEY back from the door. TFO ONEY instructed ROWAN to not touch his person.
TFO ONEY grabbed ROWAN ’s right hand to remove her from the doorway. TFO Jordan LEAR
assisted and escorted her to the front yard in a seated position. At this point in time, an
unknown female (later identified as ROWAN’s sister) emerged from inside the residence.
She was asked to talk to TFO ONEY under the carport at the side of the residence. She was
cooperative and stated she resided in the basement of the home; but did not know if there
were other occupants in the residence. She stated HARBUT stayed at the residence but did
not know if he was there at the time.

DUSM Daniel TEBO directed TFO LEAR to release ROWAN in an attempt to calm her down.
ROWAN continued to be loudly expressive against the law enforcement officers’ presence
and told DUSM TEBO she was “about to swing” on him. ROWAN attempted to gain entry
into the residence. SOFAST members blocked the entryway and informed ROWAN to stay
outside. After ROWAN made her verbal threats, TFO ONEY informed ROWAN that she would
be arrested for felony assault on a police officer if she continued her behaviors. SOFAST
members proceeded to search the residence for HARBUT. SOFAST members located a
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minor child in the basement; as well as a disabled male in a first floor back bedroom.
HARBUT was not located in the residence.

6. While several SOFAST members were conducting the search of the residence for HARBUT,
TFO LEAR and other members of SOFAST remained with ROWAN in the front yard.

7. Upon concluding a search of the residence, DUSM TEBO stepped into the front yard and
observed ROWAN sitting on the ground in handcuffs. At this point in time, TFO LEAR
informed DUSM TEBO he had been assaulted by ROWAN via numerous scratch marks and
abrasions on his forearms. TFO Brad KOVERMAN was talking to ROWAN and attempting to
calm her down. DUSM TEBO removed the handcuffs and allowed her to return to the
residence until it was determined if she were to be arrested for her actions.

8. At this point in time, TFO LEAR and TFO Eric FLEMING briefed DUSM TEBO to what occurred
while he and other SOFAST members were searching the residence for HARBUT. TFO LEAR
stated ROWAN became physically combative and threatened to pinch, bite, and attempt to
injure officers while attempting to gain entry to the residence. She further made physical
contact with TFO LEAR and TFO FLEMING several times while attempting to gain entry.
ROWAN also attempted to kick in her own side door to gain entry while SOFAST members
were in the residence. ROWAN further stated she wanted to release the dogs from inside
the residence. Upon scratching and attempting to bite TFO LEAR, TFO Eric FLEMING
escorted ROWAN to the ground and handcuffed her. ROWAN further attempted to bite TFO
FLEMING and TFO LEAR while they were handcuffing her. TFO LEAR is an Adult Parole
Officer who is deputized with the U.S. Marshal's Office and works with the SOFAST Task
Force.

9. Based on the foregoing facts and my knowledge and experience, | submit that probable
cause exists to believe that ROWAN did assault, resist or impede certain officers or
employees in violation of 18 U.S.C 111. | hereby request the issuance of a criminal complaint

and arrest warrant.

Daniel L. Tebo Jr.
Deputy U.S. Marshal

Sworn before me and subscribed in my presence this ue of October 2021, at Dayton, Ohio

 
      

Peter B. Silvain Jr.
United States Magistr
